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                       EXHIBIT E
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                         KERN COMMUNITY COLLEGE DISTRICT
                            ADMINISTRATIVE DETERMINATION
                      Regarding a Complaint of Harassment and Bullying
                                      Filed by Andrew Bond
                                     Against Daymon Johnson


    I.       INTRODUCTION

             On September 24, 2021, Professor Andrew Bond filed a complaint with the Kern
             Community College District (the “District”) against Dr. Daymon Johnson. Professor
             Bond filed the complaint upon receipt of an Administrative Determination on
             September 24, 2021 from a previous investigation. The results of the previous
             investigation clarified that Dr. Matthew Garrett, a Professor of History at Bakersfield
             College, did not make a Facebook post on the Facebook page of the Renegade
             Institute for Liberty at Bakersfield College (“RIFL”) using content from Professor
             Bond’s personal Facebook page.

             In his September 24, 2021 complaint, Professor Bond alleged that Dr. Johnson, a
             professor in the History Department at Bakersfield Community College, engaged in
             harassment and bullying when reposting and commenting on the Facebook post made
             by Professor Bond on his personal Facebook page. Upon receipt of the complaint
             from Professor Bond, the District requested an outside investigator conduct an
             investigation into Professor Bond’s allegations.

    II.      SUMMARY OF INVESTIGATION

             The District engaged Dr. Juanita Webb of J. Webb Consulting to investigate
             Professor Bond’s allegations. Dr. Webb interviewed Professor Bond and Dr. Johnson
             and reviewed materials from the Facebook pages of the individuals as well as RIFL.
             The scope of the interviews was to determine if there was factual support for the
             allegations regarding the conduct stated in the complaint and identify any desired
             remedial actions expressed by those interviewed. The District further requested Dr.
             Webb evaluate whether Dr. Johnson’s comments disrupted harmony amongst
             coworkers, or interfered with Professor Bond’s job duties, who the comments were
             directed at and if the comments were false. Dr. Webb applied a preponderance of the
             evidence standard to the information received to draw conclusions about the incidents
             and issues presented.

             Dr. Webb’s investigation report is thorough, well-reasoned, and objective. Detailed
             below are the allegations and resulting conclusions.




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    III.     NOTICE OF ADMINISTRATIVE DETERMINATION

             A. Findings in Response to Each Allegation

             Based on the District’s review, the following constitutes the District’s findings with
             regard to each specific allegation contained in the complaint.

             ALLEGATION 1 – Dr. Johnson re-posted Professor Bond’s friends-only
             Facebook post on the RIFL Facebook page with comments. Professor Bond
             alleged that Dr. Johnson used the RIFL Facebook page to repost the following
             material from his personal Facebook page: “Maybe Trump’s comment about shithole
             countries was a statement of projection because honestly, the US Is a fucking piece of
             shit nation. Go ahead and quote me, conservatives. This country has yet to live up to
             the ideals of its founding documents.”

             Professor Bond also alleged that Dr. Johnson commented, “Here’s what one critical
             race theorists at BC sounds like. Do you agree with this radical SJW from BC’s
             English Department? Thoughts?” when posting on the RIFL at Bakersfield College.

             -    Finding – Sustained: The investigator found sufficient evidence to support that
                  Dr. Johnson first viewed Professor Bond’s post on the Facebook page of Michael
                  Einhaus, a former Professor of Philosophy at Bakersfield College. Bond and
                  Johnson are not Facebook friends. Bond reposted it to the RIFL Facebook page
                  with the additional comments. The investigator found that the RIFL post from Dr.
                  Johnson was globally accessible and received five reactions, three comments, and
                  one sharing of the post.

             ALLEGATION 2 – Dr. Garrett “liked” one of the comments of a negative
             nature. Professor Bond alleged that Dr. Garrett “liked” the following negative
             comment added to the post by Dr. Johnson: “Maybe he [Professor Bond] should
             move to China, and post this about the PRC in general or the Chinese Communist
             Party and see how much mileage it gets him. I wonder, do they still send the family
             the bill for the spent round?” Professor Bond stated that Dr. Garrett’s “like” indicated
             he did not find it offensive. Professor Bond also alleged that the “like” from Dr.
             Garrett gave the post additional credence and support by RIFL.

             -    Finding – Sustained: The investigator found sufficient evidence to support that
                  Dr. Garett liked the comment.

             ALLEGATION 3 –Professor Bond made the original post on his own personal
             Facebook page approximately 21 months before Dr. Johnson re-posted the
             information of the RIFL Facebook page. Professor Bond alleged he originally
             made the post on his personal page on August 22, 2019.




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             -    Finding – Sustained: The investigator found sufficient evidence to support that
                  Professor Bond made the original post on August 22, 2019.

             ALLEGATION 4 – Dr. Johnson was “doxing” Professor Bond. Professor Bond
             alleged that Dr. Johnson dredged up the old post and used it to “dox” (searching for
             and publishing private or identifying information about a specific person, usually with
             a malicious intent) Professor Bond.

             -    Finding – Not sustained, but plausible: The investigator did not find sufficient
                  information to support that Dr. Johnson’s intent was to dox Professor Bond, but
                  did find that it was a possibility.

             ALLEGATION 5 – Dr. Johnson was using the post as a means of retaliation for
             comments Professor Bond made toward Professor Miller that offended Dr.
             Johnson. Professor Bond alleged that Dr. Johnson used the post on the RIFL
             Facebook page to retaliate against him for a complaint Professor Bond previously
             filed against Dr. Miller.

             -    Finding – Not sustained, but plausible: The investigator did not find sufficient
                  information to confirm retaliation by Dr. Johnson against Professor Bond. The
                  investigator did find that retaliation was a possibility based on the ongoing
                  complaints and legal issues between Professors Bond, Miller, and Dr. Garett.

             ALLEGATION 6 – Dr. Johnson prompted readers of the public RIFL Facebook
             post to respond. Professor Bond alleged that Dr. Johnson prompted readers of the
             post to respond on the RIFL Facebook page.

             -    Finding – Sustained: The investigator found sufficient information that Dr.
                  Johnson was inciting readers of the post to make harassing comments through
                  words like, “Do you agree…” and “Thoughts?”


             ALLEGATION 7 – Dr. Johnson intended to “expose” Professor Bond and
             connect his personal beliefs with his professional responsibilities. Professor Bond
             alleged that Dr. Johnson wanted to paint him in a negative light and make it seem that
             Professor Bond is unable to separate his personal belief from his professional work

             -    Finding – Sustained: The investigator found sufficient information to support
                  that Dr. Johnson wanted to expose Professor Bond and what Dr. Johnson thought
                  were his “radical beliefs.” Dr. Johnson also wanted to connect Professor Bond’s
                  comments about America and Professor Bond’s opposing political views with
                  Professor Bond’s professional role at Bakersfield College.

             ALLEGATION 8 – Professor Bond fails to teach “both sides” of issues in his
             classes. Dr. Johnson alleged that Professor Bond does not teach “both sides” of the



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                issues in his classes and instead the “alternative views” Professor Bond teaches are
                “very radical.”

                -    Finding – Not sustained: The investigator did not find sufficient information to
                     support that Professor Bond does not teach both sides of an issue.

                ALLEGATION 9 –Dr. Johnson did not make it clear that the post on the RIFL
                Facebook page was his own personal opinion and not associated with Bakersfield
                College or RIFL in any way. Professor Bond alleged that Dr. Johnson posted the
                content under the legitimacy of the RIFL page with the Bakersfield College’s name
                attached to it.

                -    Finding – Sustained: The investigator found sufficient information to support
                     that Dr. Johnson did not make it clear that the post was a personal belief and not
                     the opinion of RIFL or Bakersfield College.

                ALLEGATION 10 – Professor Bond and Dr. Johnson define the term “critical
                race theorist” differently. Professor Bond alleged that Dr. Johnson used the label
                “critical race theorist” in a pejorative way. Professor Bond alleged that Dr. Johnson’s
                use of the term “critical race theorist” is inaccurate and out of context because
                Professor Bond is not a lawyer or legal scholar who applies race issues to legal policy
                or legislation

                -    Finding – Not sustained, but plausible: The investigator did not find sufficient
                     evidence to show that Dr. Johnson and Professor Bond defined the terms
                     differently, but based on their positions determined that it is possible.

                ALLEGATION 11 – Dr. Johnson was eliciting reaction from readers of the
                RIFL Facebook post. Professor Bond alleged that Dr. Johnson used the terms
                “radical SJW” 1 and “critical race theorist” to “push buttons” of more conservative
                readers.

                -    Finding – Sustained: The investigator found sufficient information to confirm
                     that Dr. Johnson was eliciting reactions from readers when using those terms.

                ALLEGATION 12 – Dr. Johnson has used labels and name-calling toward
                others with whom he disagrees, as well as toward Professor Bond on a public
                forum. Professor Bond alleged that Dr. Johnson used name-calling in a similar way
                as red-baiting (the cold-war practice of harassing or persecuting (someone) on
                account of known or suspected communist sympathies) and he does so to create
                negative associations.

                -    Finding – Sustained: The investigator found sufficient information to confirm
                     that Dr. Johnson used name-calling on public forums.


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    This apparently refers to the term “social justice warrior.”


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             ALLEGATION 13 – Dr. Johnson relied on inferences and not factual statements
             leading to a false statement about Professor Bond in the RIFL Facebook post,
             according to Professor Bond. Professor Bond alleged that Dr. Johnson falsely called
             him a critical race theorist.

             -    Finding – Sustained: The investigator found sufficient evidence to support that
                  Dr. Johnson’s comments were inferences and not based in facts and Dr. Johnson
                  incorrectly called Professor Bond a critical race theorist according to Professor
                  Bond.

             ALLEGATION 14 – Professor Bond was offended that Dr. Johnson described
             his personal views incorrectly. Dr. Johnson admitted he would also be offended
             in a similar situation. Professor Bond stated he was offended and uncomfortable
             with the mischaracterization of his personal beliefs.

             -    Finding – Sustained: The investigator found sufficient evidence to confirm both
                  Professor Bond and Dr. Johnson’s offense and discomfort with incorrect
                  descriptions of their personal beliefs.

             ALLEGATION 15 – Neither the RIFL webpage nor the SJI webpage on the
             Bakersfield College website have a disclaimer that information on the site may
             be personal opinions and not a reflection of the institute or Bakersfield College.
             Professor Bond alleged that the RIFL appears to be an official entity of Bakersfield
             College and hides behind the “at Bakersfield College” designator in the
             organization’s name when they want to avoid responsibility. He also alleges their
             webpage, which is accessible through the official Bakersfield College website, does
             not have a disclaimer that the comments and positions expressed on the webpage are
             not that of Bakersfield College.

             The Social Justice Institute (“SJI”), another campus group with opposing political
             beliefs to RIFL, also has a website accessible through the official Bakersfield College
             Website.

             -    Finding – Sustained: The investigator found sufficient information to confirm
                  that neither the RIFL webpage nor the SJI webpage have disclaimers regarding
                  the information on the page as personal opinion and not statements of Bakersfield
                  College.

             ALLEGATION 16 – Neither the SJI Facebook page nor the RIFL Facebook
             page have a disclaimer regarding personal opinion of the person writing the
             post. The RIFL Facebook page does state that the individual members of the
             RIFL may not necessarily embrace or agree with all posts appearing on their
             page.

             -    Finding – Sustained: The investigator found sufficient evidence to support that
                  neither the SJI nor the RIFL Facebook pages have disclaimers regarding personal


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                  opinion. The investigator noted in her report that there is a post pinned on the
                  RIFL Facebook page from May 16, 2020 stating that members may not agree with
                  all posts.

             ALLEGATION 17 –RIFL has not corrected the name of their organization on
             the RIFL Facebook page, thus continuing to associate the RIFL and its
             comments with Bakersfield College. Professor Bond alleged that RIFL’s previous
             name was “Bakersfield College Liberty Institute” and the group was required to
             change their name.

             -    Finding – Sustained: The investigator found sufficient information to support
                  that Dr. Johnson and Dr. Garrett, as co-administrators of the RIFL Facebook page
                  have not changed its name.

             ALLEGATION 18 – Dr. Johnson violated the standards related to insults,
             accusations, and trolling established on the RIFL Facebook page. The RIFL
             Facebook page has a pinned post stating that insults, accusations, and trolling are not
             welcome. Professor Bond alleged that no one on the RIFL Facebook page held Dr.
             Johnson accountable to those standards.

             -    Finding – Sustained: The investigator found sufficient evidence to support that
                  Dr. Johnson’s comments in the May 11, 2021 post about Professor Bond being a
                  radical Social Justice Warrior and critical race theorist violated the standards of
                  the Facebook page and that Dr. Johnson is a co-administrator of that Facebook
                  page.

             ALLEGATION 19 – Dr. Johnson did not identify, as Dr. Johnson claims is
             obligatory, that the May 11, 2021, RIFL Facebook post about Professor Bond
             was a personal opinion and not a professional commentary. Dr. Johnson stated
             that when a claim is made that is a personal opinion, one is obligated to state that it is
             an opinion and not a professional commentary.

             -    Finding – Sustained: The investigator found sufficient information to support
                  that Dr. Johnson did not state that the comments were his personal opinion and
                  not professional commentary. The investigation did not make any finding
                  regarding the underlying alleged “obligation” to state what is an opinion and what
                  is commentary.

             ALLEGATION 20 - Dr. Johnson did not follow his own belief regarding the
             protocol to work out a disagreement with a co-worker. Dr. Johnson stated it was
             his belief that the protocol was to attempt to work out a disagreement with a co-
             worker directly.

             -    Finding – Sustained: The investigator found sufficient information to support
                  that Dr. Johnson did not go directly to Professor Bond to work out the
                  disagreement they had about Professor Bond’s comments on the friends-only


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                  Facebook post or about his alleged comments about Professor Miller. The
                  investigation did not make any finding regarding the underlying alleged
                  “protocol” to attempt to work out a disagreement directly.

             ALLEGATION 21 – Dr. Johnson connected the personal comments of Professor
             Bond with his professional responsibilities as a Professor of English at
             Bakersfield College. Dr. Johnson acknowledged that he connected Professor Bond’s
             Facebook post with his professional responsibilities.

             -    Finding – Sustained: The investigator found sufficient information to support
                  that Dr. Johnson connected the personal comments of Professor Bond with his
                  professional responsibilities

             ALLEGATION 22 – Dr. Johnson knew his comments on the post were, at least,
             “impolite.” Dr. Johnson stated that he knew the comments were at least impolite.

             -    Finding – Sustained: The investigator found sufficient information to support
                  that Dr. Johnson knew the comments were impolite.

             ALLEGATION 23 – Both Dr. Johnson and Professor Bond believed they had a
             cordial work relationship prior to the May 11, 2021, post by Dr. Johnson.
             Professor Bond and Dr. Johnson both stated they had a cordial relationship prior to
             the May 11, 2021 post.

             -    Finding – Sustained: The investigator found sufficient evidence to support that
                  Professor Bond thought he and Dr. Johnson had a causal work relationship and
                  Dr. Johnson thought he and Professor Bond had a “cordial” relationship.

             ALLEGATION 24 – There was a lively debate on Professor Miller’s Facebook
             page approximately two years ago regarding social justice issues. Dr. Johnson
             stated that he and Professor Bond had a lively debate regarding social justice issues.

             -    Finding – Sustained: The investigator found sufficient information to support
                  that there was a lively debate between Dr. Johnson and Professor Bond on
                  Professor Miller’s Facebook page.

             ALLEGATION 25 – Dr. Johnson took the comments made during the debate
             regarding Professor Miller “personally.” Dr. Johnson stated that he took the
             comments about Professor Miller personally.

             -    Finding – Sustained: The investigator found sufficient information to support
                  that Dr. Johnson took the comments personally.

             ALLEGATION 26 – Professor Bond avoids co-workers due to the ongoing
             current issues. Professor Bond stated that he avoids faculty members who associate
             with RIFL.


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             -    Finding – Sustained: The investigator found sufficient information to support
                  that Professor Bond avoids co-workers in RIFL.

             ALLEGATION 27 – Students are followers on the RIFL Facebook page and
             have access to the posts on the page. Professor Bond expressed concern that
             students are included as followers on the RIFL Facebook page and can see the
             negative comments made about him.

             -    Finding – Sustained: The investigator found sufficient evidence to confirm that
                  students had access to the RIFL Facebook page and can see the negative
                  comments.

             ALLEGATION 28 – Professor Bond has withdrawn from work activities for
             fear of being a target. Professor Bond stated that he withdrew from providing
             additional services for students in an effort to remove that “target” from these
             individuals or groups that his involvement may bring because of the ongoing issues.

             -    Finding – Sustained: The investigator found sufficient evidence to support that
                  Professor Bond has withdrawn from work activities.

             ALLEGATION 29 – Professor Bond resigned as a Union Representative.
             Professor Bond stated he resigned as a Union Representative because of the issues
             with RIFL and Dr. Garrett.

             -    Finding – Sustained: The investigator found sufficient information to support the
                  impact on Professor Bond including that he resigned as Union Representative.

             B. Actions Taken, if Any, in Prevention of Future Instances

                  The investigator found that Dr. Johnson did post Professor Bond’s personal
                  Facebook post to the RIFL Facebook page, which is public for anyone to view.
                  Dr. Johnson’s intent was to expose Professor Bond’s personal views and connect
                  those views to his role as a professor at Bakersfield College. Dr. Johnson did aim
                  to encourage comments and responses from other RIFL members. Given the
                  relationship of Dr. Johnson and Professor Miller and the ongoing events between
                  Professor Miller and Professor Bond, there may be additional motivations behind
                  the reposting. However, the investigator did not find that Dr. Johnson intended to
                  retaliate against Professor Bond. Further, the investigation revealed no evidence
                  that that Dr. Johnson took any of these actions in his role as a Kern Community
                  College District employee.

                  The investigator also found Dr. Johnson did not discuss critical race theory or
                  social justice issues with Professor Bond before posting and based his statements
                  on inferences rather than fact. Dr. Johnson did not disclaim that the post was his
                  own opinion and not the position of RIFL or Bakersfield College. The RIFL


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                  Facebook and webpage do not have disclaimers clarifying that posts are the
                  opinion of the poster and not the group as a whole. The association of RIFL with
                  Bakersfield College gives the appearance that Bakersfield College supported the
                  statements made by Dr. Johnson.

                  As a result of these events, Professor Bond has withdrawn from his role as Union
                  Representative and limited his activities with students to avoid additional issues.

                  The District will investigate any further complaints of harassment and bullying
                  and, if applicable, will take appropriate remedial action including but not limited
                  to any discipline determined to be appropriate.

             C. Proposed Resolution of the Complaint

                  Because there were no findings to support a cause for discipline under the
                  Education Code, the District concludes that no further action will be taken
                  regarding this complaint.

                  Thank you for cooperating with the District’s investigation in this matter. Please
                  contact                                         with any questions.




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